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United States District Court
NORTHERN DISTRICT OF GEORGIA

UNITED STATES OF AMERICA WARRANT FOR ARREST
v. AGENT TO ARREST
Dawuan Na’jee Williams Case Number: 1:21-MJ-0700

TO: The United States Marshal
and any Authorized United States Officer

YOU ARE HEREBY COMMANDED to arrest Dawuan Na’jee WILLIAMS

and bring him or her forthwith to the nearest magistrate judge to answer a COMPLAINT charging him
or her with: possession of a firearm by a prohibited person; making a false and fictitious oral or written
statement in connection with the acquisition of a firearm from a licensed dealer of firearms, and
furnishing and exhibiting a false, fictitious, and misrepresented identification, intended or likely to
deceive such federally licensed firearms dealer with respect to any fact material to the lawfulness of the
sale or such firearm; and, during and in relation to a violation of Title 18, United States Code, Section
922(a)(6), knowingly transferring, possessing, and using, without lawful authority, a means of
identification of another person,

      
  
  

   
 
 

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in violation of Title 18, United States Code, Sections 922(g)(1), 922(a)(6), and 1028A (a) (). —

REGINA D CANNON United States Magistrate Judge
Name of Issuing Officer Title of Issuing Officer

July 20, 2021
Atlanta, Georgia

Signature of Issuing Officer Date and Location

Issued pursuant to Fed. R. Crim. P. 4.1 EZ Canine
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RETURN

This warrant was received and executed with the \ of the above-named defendant at:

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